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Case 3:15-cv-00499-MMD-WGC Document $7 Filed 06/23/17 Page 11 of 19

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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